         Case 1:17-cr-00548-PAC Document 129 Filed 08/27/19 Page 1 of 2
                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     August 27, 2019




Via ECF
The Honorable Paul A. Crotty
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:     United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)

Dear Judge Crotty:

        We respectfully submit this letter in connection with the schedule relating to Counts One
through Eleven of the above-referenced Indictment, which include charges related to the theft and
transmission of classified information, false statements, obstruction of justice, and contempt of
court (the “Espionage Trial”). The Government understands that the defendant is seeking to
adjourn the Espionage Trial until January 13, 2020. Although the Government is prepared to start
trial as scheduled on November 4, 2019, the Government does not oppose the defendant’s
adjournment request with the understanding that the defendant will not seek another adjournment
of the Espionage Trial absent exceptional and unforeseen circumstances and that the parties will
follow the revised schedule set forth in Exhibit A, assuming that that schedule is acceptable to the
Court. 1 In connection with the proposed schedule, the Government understands that defense
counsel is unavailable for hearings or conferences between October 17 and 21, 2019.

       The Government also respectfully requests that the Court exclude time under the Speedy
Trial Act in the interests of justice through the rescheduled trial date. The bases for the
adjournment are the pending motion practice and so that the parties can continue preparing for
trial.

1
  The Government recognizes that the proposed schedule would necessarily change should the
Court grant the defendant’s motion, filed yesterday afternoon, seeking to sever the Espionage Trial
into two trials—one addressing the counts related to the WikiLeaks’ disclosures and another
addressing the counts related to the disclosure of classified information from prison. As reflected
in Exhibit A, the Government proposes filing its opposition to that motion by September 6, 2019.
         Case 1:17-cr-00548-PAC Document 129 Filed 08/27/19 Page 2 of 2
The Honorable Paul A. Crotty, U.S.D.J.
August 27, 2019
Page 2

       On August 22, 2019, the Government sent defense counsel a proposed schedule in
connection with an anticipated January 13, 2020 trial date. The Government subsequently revised
the proposed schedule to incorporate several of defense counsel’s requests, which are reflected in
Exhibit A, and sent the revised schedule to defense counsel on August 26, 2019. Defense counsel
has not responded to subsequent emails from the Government asking whether defense counsel
consents to the revised schedule and the exclusion of time through the rescheduled trial date.

                                                      Respectfully submitted,
                                                      GEOFFREY S. BERMAN
                                                      United States Attorney

                                                By:                /s/
                                                      David Denton / Sidhardha Kamaraju /
                                                      Matthew Laroche
                                                      Assistant United States Attorneys
                                                      Tel.: 212-637-2744 / 6523 / 2420

Cc: Defense Counsel (via ECF)
    Daniel Hartenstine, Court Information Security Officer (via Email)
Case 1:17-cr-00548-PAC Document 129-1 Filed 08/27/19 Page 1 of 3




          ·EXHIBIT A
       Case 1:17-cr-00548-PAC Document 129-1 Filed 08/27/19 Page 2 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                   S2 17 Cr. 548 (PAC)

                             -v.-                           [PROPOSED] ORDER

 JOSHUA ADAM SCHULTE,

                             Defendant.



PAUL A. CROTTY, United States District Judge:

      The parties shall comply with the following pretrial schedule:

Pretrial Filings and Other Deadlines

      August 29, 2019               Defendant to file reply briefs, if any, in response to the
                                    Government’s opposition to the defendant’s pretrial
                                    suppression motions submitted on August 2, 2019.

                                    Government to file its opposition to the defendant’s
                                    classified motion relating to a redacted document produced
                                    in classified discovery.

      September 6, 2019             Government to file its response to the defendant’s conflict
                                    letter, dated August 26, 2019.

      September 9, 2019             Defendant to file his notice pursuant to CIPA Section 5
                                    detailing the classified information that he reasonably
                                    expects to disclose or cause to disclose in connection with
                                    trial or any pretrial proceeding. Defendant reserves his
                                    right to supplement his Section 5 notice in advance of trial.

                                    Government to file its opposition to the defendant’s
                                    classified motion, dated August 26, 2019.

      October 4, 2019               Government to provide notice to the Court and the
                                    defendant pursuant to CIPA Section 6(a) and (b) that it is
                                    requesting a hearing concerning the use, relevance, or
                                    admissibility of classified information at trial or any pretrial
                                    hearings.

                                    Parties to provide expert notice, if any.
         Case 1:17-cr-00548-PAC Document 129-1 Filed 08/27/19 Page 3 of 3




         October 18, 2019           Defendant to file opposition to the Government’s notice
                                    under CIPA Section 6(b).

         November 22, 2019          Government to file its motion pursuant to CIPA Section
                                    6(c), if any, proposing alternative procedures for the
                                    disclosure of classified information authorized by the Court
                                    to be disclosed at trial.

                                    Parties to file motions in limine and 404(b) notice.

                                    Parties to file requests to charge and voir dire.

         December 6, 2019           Defendant to file his opposition to the Government’s
                                    motion pursuant to CIPA Section 6(c).

                                    Parties’ to file oppositions to motions in limine.
                                    Government to produce 3500 and Giglio material (if not
                                    already produced).

Pretrial Hearing and Conference Dates

         October __, 2019           Court to hold a hearing to address the defendant’s pretrial
                                    motions, if necessary (parties propose week of October 14).

         November __, 2019          Court to hold a hearing pursuant to CIPA Section 6(a), if
                                    necessary (parties propose week of November 11).

         December __, 2019          Court to hold a hearing pursuant to CIPA Section 6(c), if
                                    necessary (parties propose week of December 16).

         December __, 2019          Court to hold final pretrial conference (parties propose
                                    week of December 16).

SO ORDERED.

Dated:         August __, 2019
               New York, New York


                                                   __________________________________
                                                   THE HONORABLE PAUL A. CROTTY
                                                   UNITED STATES DISTRICT JUDGE




                                               2
